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IN THE UNITED srATEs DlsrchT CoURT »>@
FoR THE WESTERN DISTRICT oF TENNESSEE 05 0 <a»-
EASTERN DIVISION 463~3

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)

VS. ) No. 03-1004l-T-An
)
RONNIE D. DEAN, )
)
Defendant. )

 

ORDER DENYING DEFENDANT’S PRO SE MOTION
FOR CORRECTION OR RECONSIDERATION FOR REDUCTION OF SENTENCE

 

Defendant has filed another motion,pro se. Defendant has previouslybeen instructed
that, because he is represented by an attorney, he cannot file motions on his own behalf. g
Order Denying Motion for Brady Material 10/20/04 (citing Green v. Dorrell, 969 F.Zd 915
(lOlh Cir. 1992) (Represented party must have current counsel file motion to Withdraw
counsel.)) Therefore, Defendant's motion is DENIED.

IT IS SO ORDERED.

Q§l/W//Z)`W

JAM D. TODD
UNI D STATES DISTRICT IUDGE

949 WMF

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Thls document entered on the docket c oomptianco
with Rule 55 and!or 32(b) FRCrP on 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 1:03-CR-10041 Was distributed by faX, mail, or direct printing on

August 31, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

